UN|TED STATES DlSTR|CT COURT
EASTERN DlSTR|CT OF TENNESSEE

NORTH POINTE lNSURANCE COMPANY,

AT CHATTANOOGA
RAMONA THOMPSON AND CEVEL *
FLETCHER, *
Plaintiffs, * NO.: 1-09-cv-156
vs. *

Defendant.

 

ORDER OF DlSM|SSAL

 

Come the parties, by their attorneys, and announce to the Court that all matters here
in controversy between the parties have been compromised and settled out of Court, and
that the plaintiffs, Ramona Thompson and Cevel F|etcher, for valuable consideration, have
executed a Release in full and final settlement of all claims, including any and all
subrogation interests or liens, if any, against the defendant arising out of the matters here
in controversy. lt is therefore:

ORDERED, ADJUDGED and DECREED by the Court that this cause, as Well as the
counterclaim, be, and the same are hereby, dismissed With full prejudice to the plaintiffs
and that this settlement shall not be admissible in any other proceedings The court costs
incident to this defendant are hereby taxed against the defendant for Which execution may

issue if necessary The parties shall bear their own discretionary costs incurred to date.

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ENTER this day of , 2010.

 

UN|TED STATES l\/lAG|STRATE JUDGE

APPROVED FOR ENTRY:

BY:

 

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